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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

 CONFEDERATED TRIBES OF THE
 CHEHALIS RESERVATION et al.,

               Plaintiffs,                  Civil Action No: 1:20-cv-01002-APM
 v.

 STEVEN MNUCHIN, SECRETARY,
 UNITED STATES DEPARTMENT OF
 THE TREASURY,

               Defendant.


                        BRIEF OF AMICUS CURIAE AHTNA, INC.


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                        CORPORATE DISCLOSURE STATEMENT

       Pursuant to Local Rule 7(o)(5) of this Court and Rules 26.1 and 29(a)(4)(A) of the Federal

Rules of Appellate Procedure incorporated therein, amicus curiae Ahtna, Incorporated (“Ahtna”),

is an Alaska Native Regional Corporation created pursuant to the Alaska Native Claims Settlement

Act (“ANCSA”), 43 U.S.C. §§ 1601-1629. Ahtna is owned by its more than 2,000 Alaska Native

shareholders. It owns and controls the lands and property of the Ahtna people in east central

Alaska. Ahtna has no parent company, and no publicly held company holds more than a ten

percent interest in Ahtna.
                                                    /s/ Michael J. O’Leary
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                                    INTEREST OF AMICUS CURIAE1
         Ahtna, Incorporated (“Ahtna”), is an Alaska Native Regional Corporation (“ANC” or

“ANCSA corporation”) created pursuant to the Alaska Native Claims Settlement Act (“ANCSA”),

43 U.S.C. §§ 1601-1629.             Ahtna’s mission is the “[w]ise stewardship of Ahtna lands and

responsible economic growth, for future generations of Ahtna people.”2 To this end, Ahtna

represents the interests of its more than 2,000 Alaska Native shareholders and owns lands and

resources located in eastern Alaska. Ahtna is charged with advancing the interests of its Alaska

Native shareholders, many of whom have limited incomes and live in remote locations in rural

Alaska. Ahtna, like other Alaska Native communities, has faced significant hardships during the

current COVID-19 global pandemic as outlined below. Ahtna stands ready to assist the Ahtna

people in this crisis.

         Plaintiffs in this action, eleven Indian tribes from Alaska, Arizona, California New Mexico,

Maine, and Washington state, claim that ANCSA corporations, like Ahtna, are ineligible to receive

a portion of the $8,000,000,000 in federal funds appropriated for payments to “Tribal

governments” under Title V of the Coronavirus Aid, Relief, and Economic Security (“CARES”)

Act. H.R. 748, Section 601(a)(2)(B) & (b)(1). Plaintiffs’ position contravenes Congress’ intent

as expressed in the statute. And Ahtna is well positioned to assist the Court by: (1) outlining the

critical and unique role that ANCSA corporations play in supporting Alaska Native communities;

and (2) relevant information that may inform the Court’s analysis of Congress’ intent in enacting

the relevant provisions of the CARES Act.




1
  This brief was not written in whole or in part by counsel for a party, and no one other than the amicus curiae and its
counsel contributed money intended to fund the preparation of the brief. Counsel for the parties have stated that they
consent to the filing of this brief.
2
    Ahtna website, “Mission, Vision, and Values,” available at https://www.ahtna.com/mission-vision-and-values/




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                                        INTRODUCTION

I.     Background

       Specific Congressional acts enacted for Alaska Natives are sui generis; as the Supreme

Court recently observed “Alaska is often the exception, not the rule.” Sturgeon v. Frost, 136 S. Ct.

1061, 1071 (2016) (Sturgeon I); Sturgeon v. Frost, 139 S. Ct. 1066, 1072 (2019) (Sturgeon II)

(“Alaska is different from the rest of the country”).

       Statutes touching on Alaska and Alaska Natives cannot be read in a vacuum. Ahtna, like

all other ANCSA corporations, was created under such a sui generis statute, ANCSA, 43 U.S.C.

§§ 1601-1629.     Notably, the Ahtna people did not choose to organize themselves into a

corporation—Congress made that choice for them. Alaska Natives did not seek a corporate form

of organization. That was a byproduct of legislative negotiations. What Alaska Natives sought

was self-determination of their own future.

       And despite its legal form, Ahtna is much more than just a corporation. Ahtna represents

and advances the interests of over 2,000 Alaska Native shareholders, administers land and

resources in eastern Alaska on their behalf, and provides a litany of social, educational, and health-

related services. For example, Ahtna spends significant funds putting tribal members to work in

its impoverished villages. See Declaration of Ken Johns at ¶¶ 5-6, attached as Exhibit 2. Ahtna

has also expended significant resources defending the hunting and fishing rights of the Ahtna

people. Id. at ¶¶ 3-4. The Ahtna people have occupied east-central Alaska for more than 5,000

years. B.A. Potter, Exploratory Models of Intersite Variability in Mid and Late Holocene Central

Alaska, Arctic Vol. 61, No. 4, 407-425 (2008). Since its creation under the ANCSA, Ahtna has

served a critical role in assisting its Alaska Native shareholders in maintaining their way of life

and physical and economic health. Id. at ¶¶ 1-10. But Ahtna, like other Native communities, now




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face a new and devastating challenge to their way of life as a result of the COVID-19 pandemic.

        Food security is a paramount issue for the Ahtna people during this pandemic. The Ahtna

region is located in rural Alaska. While their villages are on the road system, they are supported

by only one small grocery store in Glennallen, Alaska. For one of the Ahtna villages, this means

traveling over 100 miles to get limited access to groceries. Compounding the issue, this grocery

store, like many others in Alaska, has very limited stock due to panic buying. This means that

some of Ahtna shareholders have gone without staples, such as meat and produce for over a month.

Ahtna is mobilizing to address these issues and stands ready to further assist the Ahtna people in

this crisis.

        Plaintiffs in this action present ANCSA corporations as simply for-profit corporations

established under state law and, thus, very different from other Indian tribes. But that is an

inaccurate caricature. ANCSA was a negotiation among the United States, Alaska Natives and the

State of Alaska. It is the functional equivalent of a modern-day Indian treaty and fulfills very

similar purposes as Indian treaties. Like Indian treaties, it was a final agreement with the United

State on aboriginal land rights and resolved Alaska Natives aboriginal claims to the entire 300

million acres of what is now the State of Alaska. ANCSA, like other agreements between the

United States and Native peoples, also set the terms and conditions of land ownership by

establishing a governance structure for that Alaska Native land ownership in for-profit

corporations, in which each Alaska Native was entitled to 100 shares of ANCSA stock as a

birthright.

        Three additional purposes are identical between reservations and ANCSA lands: (i) they

are an embodiment of the culture of Native people; (ii) utilized for aboriginal hunting and fishing;

and (iii) they are the embodiment of economic sovereignty. Indeed, the dependence of Alaska




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Native on subsistence hunting and fishing is likely far more prevalent among Alaska Natives than

anywhere else in the Unites States.

       Although it is true that ANCSA corporations are treated differently than other Tribal

governments in some contexts, Congress, in the exercise of its plenary power over Indian affairs,

has also mandated that ANCSA corporations be treated the same in other critical contexts. For

example, since 2004, federal law has required that “[t]he Director of the Office of Management

and Budget and all Federal agencies . . . consult with Alaska Native corporations on the same basis

as Indian tribes under Executive Order No. 13175” which outlines the United States Government’s

“Consultation and Coordination with Indian Tribal Governments.” 25 U.S.C. § 5301, Note, Pub.

L. 108-199, Div. H. Sec. 161, 118 Stat. 3, 452 (2004), as amended Pub. L. 108-447, Div. H., Title

V. Sec. 518, 118 Stat. 2809, 3267 (2004).

II.    Congress’ Decision to Authorize Relief Funds to ANCSA Corporations in Title V of
       the CARES Act

       It is with this history and the specific provisions of the ANCSA in mind, that Congress in

1975 specifically added ANCSA corporations to the definition of “Indian tribe” in section 4(e) of

the Indian Self-Determination and Education Assistance Act (“ISDEAA”), which in turn defines

“Indian tribe” to mean:

       “any Indian tribe, band, nation, or other organized group or community, including any
       Alaska Native village or regional or village corporation as defined in or established
       pursuant to the Alaska Native Claims Settlement Act (85 Stat. 688) [43 U.S.C. § 1601
       et seq.], which is recognized as eligible for the special programs and services provided by
       the United States to Indians because of their status as Indians[.]”

25 U.S.C. § 5304(e) (emphasis added).

       This definition explicitly includes ANCSA corporations. The term “Tribal government,”

in turn, is broadly defined in the CARES Act as “the recognized governing body of an Indian

Tribe” without further limitation or statutory cross-reference. H.R. 748, Section 601(g)(5). Thus,




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the governing body of any Indian tribe under the Act, including an ANCSA corporation, is eligible

for relief funds appropriated to “Tribal governments.”

           Nevertheless, Plaintiffs now seek to contravene Congress’ intent in selecting a definition

of “Indian tribes” that explicitly included ANSCA corporations by reference to separate statutory

provisions, regulations, and an agency list—none of which are referenced in the CARES Act or

even the ISDEAA definition it cross-references. Plaintiffs’ argument is largely premised on the

final clause of the ISDEAA definition, which they claim excludes all ANCSA corporations despite

the specific enumeration of ANCs in the statute.                   The Ninth Circuit previously rejected a

substantially similar argument concluding that the clause at issue did not modify or limit the

inclusion of ANCSA corporations. Cook Inlet Native Ass’n v. Bowen, 810 F.2d 1471, 1475 (9th

Cir. 1987) (“CINA”) (because “[s]pecific reference to Alaska village and regional corporations

was added by amendment” the court held it was reasonable for the Bureau of Indian Affairs to

conclude that the “eligibility clause” modified only the terms “any Indian tribe, band, nation, or

other organized group or community,” and not the specifically enumerated ANCSA corporations

which were added later) (citing 120 Cong. Rec. 40242); Cook Inlet Treaty Tribes v. Shalala, 166

F.3d 986, 988-90 (9th Cir. 1999) (observing that ANCSA corporations qualify as tribes under the

ISDEAA).

           The Ninth Circuit’s reasoning remains sound in this context.                    Here, it is similarly

reasonable for a different agency—this time the Department of the Treasury—to conclude that by

choosing a definition that specifically includes ANCSA corporations, Congress in fact, intended

to include ANCSA corporations. Although it is true that not every definition of “Indian tribe” in

the United States Code includes ANCSA corporations3, the ISDEAA definition does, and that is



3
    See, e.g., 25 U.S.C. § 5130(2) (defining “Indian tribe” to mean “any Indian or Alaska native tribe, band, nation,




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the definition that Congress chose to use in the CARES Act by explicitly cross-referencing the

ISDEAA definition. And in light of the critical and unique role that ANCSA corporations play in

supporting Alaska Natives and challenges faced by those communities during the current

pandemic, that choice makes perfect sense. It is also worth noting also that the statute from which

Congress chose the definition, the Indian Self-Determination and Education Assistance Act, was

a statute explicitly intended to provide benefits by the U.S. Government to Indians and Alaska

Natives based on their status as Indians—and Congress exercised its plenary authority to include

ANSCA corporations in the definition of “Indian tribe” within that Act.

         In sum, Congress wanted to ensure an effective response to this pandemic for Alaska

Natives, and it understood that the best way to address their needs is by providing additional

resources to ANCSA corporations, who play a critical role in providing services and support to

their communities. Alaska is larger than 177 nations. If it were a country, it would be in the top

20 by landmass. There are more than 200 remote, predominantly Native, communities across the

state but no roads connect them. The size, remoteness, and diversity bring immense challenges

unique to Alaska. Many tribes in Alaska simply do not have the capacity or resources to meet the

needs of tribal members on their own. ANCSA corporations fill that role. It is also important to

highlight the fundamental characteristics of the Title V CARES Relief program at issue in this

case—it is designed to get critical relief to Native communities throughout the United States

including Alaska. Like other Native American communities across the United States, ANCSA

corporations need that relief to support critical expenditures and alleviate suffering by Alaska

Natives resulting from the pandemic. There is little risk here that ANCSA corporations would be

receiving some type of “windfall” through eligibility in the program—there are specific



pueblo, village or community that the Secretary of the Treasury acknowledges to exist as an Indian tribe).




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restrictions and controls in the Act to ensure that the funds are only expended in direct response to

the current crisis to meet demonstrated needs.4

         These are challenging times for all Native communities and all Americans. Although

Plaintiffs understandably are trying to maximize the funds available to their communities, the

solution is not to seek to deny critical funding to other Alaska Native communities who also need

those funds and whom Congress specifically chose to include as eligible recipients under the Act.

This is a time for all Native communities to stand together rather than attempting to exclude relief

to others.

                                                  ARGUMENT5

I.       Congress Intended for ANSCA Corporations to Play a Unique and Critical Role in
         Supporting Alaska Native Communities During This Global Pandemic

         As outlined below, Plaintiffs’ challenge to the eligible of ANCSA corporations is premised

on a deeply flawed statutory analysis and contravention of Congressional intent. But it is animated

by the parallel claim that Congress should have excluded ANSCA corporations from receiving

Title V CARES Act relief funds because ANSCA corporations are “treated differently” by the

federal government than other Tribal Governments. While that may be true in some contexts, it is

similarly true that in other contexts, the United States Government treats ANSCA corporations the

same as other Indian tribes. See, e.g., 25 U.S.C. § 5301, Note, Pub. L. 108-199, Div. H. Sec. 161,



4
          Section 601(d) of the Act restricts the use of the funds by Tribal governments to cover “necessary
expenditures” caused by Covid-19 that were: (1) not accounted for in the budget most recently approved by the Tribal
government: and (2) were incurred between March 1, 2020 and December 30, 2020. It also empowers the Inspector
General of the Department of the Treasury to conduct “monitoring and oversight of the receipt, disbursement, and use
of funds made available” to State, local, and tribal governments. Section 601(d)(1). Indeed, if the Treasury Inspector
General later determines that relief funds are not expended in accordance with the restrictions in the act, he or she has
the right to seek recoupment of the funds. Section 601(d)(2).
5
         Plaintiffs’ challenge to ANSCA corporation’s receipt of funds from Title V of CARES Act likely should also
be denied for numerous procedural and jurisdictional reasons under the Administrative Procedures Act and the
standards for injunctive relief. Because Ahtna assumes those issues will be adequately addressed by the parties, Ahtna
only addresses the merits of Plaintiffs’ challenge.




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118 Stat. 3, 452 (2004), as amended Pub. L. 108-447, Div. H., Title V. Sec. 518, 118 Stat. 2809,

3267 (2004) (requiring equal consultation with ANCSA corporations and federally recognized

Indian tribes).

        To understand this dynamic and why it was entirely reasonable and appropriate for

Congress to choose to include ANSCA corporations in Title V of the CARES Act, it is helpful to

understand the distinct differences in the history and experiences of the Native peoples of Alaska

when compared to the rest of the United States. The caricature of ANSCA corporations presented

by Plaintiffs is belied by what it took to achieve this seminal legislative land claims settlement.

That history and the critical role that ANSCA corporations currently play for Alaska Natives helps

explain why Congress would choose to provide relief funds to ANCs on the same terms as other

Tribal governments during the current crisis— ANSCA corporations, like other Tribal

governments, advance the social, cultural, physical, and economic health of their communities.

        A.        Overview of Alaska Native History Prior to Statehood

        Alaska Native history is very different than the history of aboriginal peoples in the lower-

48 states. When the United States purchased Alaska from Russia on March 30, 1867, the Treaty

of Cession6 did little to create a functioning government and provided scant guidance on what

rights Alaska Natives retained; the Treaty merely provides that “[t]he uncivilized tribes will be

subject to such laws and regulations as the United States may, from time to time, adopt in regard

to the aboriginal tribes of that country.” Treaty of March 30, 1867, 15 Stat. 539; see also Sturgeon

I, 136 S.Ct. at 1073.

        After acquiring Alaska, the federal government exhibited little interest in the new territory.



6
         United States v. Alaska, 422 U.S. 184, 192 n.13 (1975) (“By the Treaty of Cession in 1867 Russia ceded to
the United States ‘all the territory and dominion now possessed (by Russia) on the continent of America and in the
adjacent islands.’ The cession was effectively a quitclaim. It is undisputed that the United States thereby acquired
whatever dominion Russia had possessed immediately prior to cession.”).




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Sturgeon II, 136 S. Ct. at 1073 (citing Ernest Gruening, The State of Alaska 355 (1968)); see also

Tlingit and Haida Indians of Alaska v. United States, 177 F. Supp. 452, 456-59, 464-67 (Fed. Ct.

Cl. 1959). For the most part, federal legislation during Alaska’s first 100 years dodged the issue

of Alaska Native land rights through a series of statutory disclaimers that continued until ANCSA.

         During this same period, most American Indians in the contiguous United States had been

displaced from their aboriginal lands by war or treaty and confined to federally established

territories or reservations. Because their means of subsistence had fallen prey to westward

expansion, these communities were almost entirely dependent upon the federal government for

food, clothing, and protection, and were often “dead [ly] enemies” of the States. United States v.

Kagama, 118 U.S. 375, 383–384 (1886); see generally Felix S. Cohen, Handbook of Federal

Indian Law 28–29, 74–92, 121–125 (1982 ed.).

         But in Alaska there is no history of Indian wars or treaties, and from purchase to Statehood

“the federal government was involved only minimally with Alaska Natives.” Cohen, supra, at 739.

That said, the federal government did attempt to protect Native hunting and fishing rights and

allowed for the acquisition of property.7 Efforts were also occasionally undertaken to provide

Alaska Natives with civil rights.8 In short, Alaska’s federal Indian laws have evolved in a very



7
          To cite a few examples: In 1906, Congress enacted the Alaska Native Allotment Act, which was intended to
significantly increase Native land ownership. In 1908, Congress amended Alaska’s first game law, 35 Stat. 102,
allowing for Natives to take game animals. And in 1942, the Department of the Interior issued an opinion concluding
that Natives have broad aboriginal fishing rights, which have “been construed to include the occupancy of water and
land under water as well as land above water.” Aboriginal Fishing Rights in Alaska, 57 Interior Dec. 461, 474 (Feb.
13, 1942). See generally Alaska Pacific Fisheries v. United States, 248 U.S. 78 (1918) (the United States filed suit to
enjoin a commercial fishing operation from operating in a reservation established to protect Natives’ fishing rights);
United States v. Libby, McNeil & Libby, 107 107 F.Supp.2d 697 (D. Alaska 9th Cir. 1952) (discussing the federal
efforts to reserve fishing rights for natives).
8
          For example, in 1915, the Territorial legislature granted some Alaska Natives the right to become citizens
and, in 1924, Congress passed legislation, 43 Stat. 253, extending citizenship to all Natives. Gruening at 363. Shortly
thereafter, the Alaska Territorial Legislature amended its laws to permit Native villages to organize municipal
governments, and several did so. Over the years, moreover, numerous Native leaders have gained “prominent public
office in the state government,” Metlakatla Indian Community v. Egan, 369 U.S. 45, 51 (1962), as well as in the prior
Territorial Legislature, and, given the State’s unique demographics, Alaska Natives to this day wield genuine political




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different ecosystem than in the continental United States because, unlike in much of the lower-48

states, Alaska Natives were not categorically displaced from their land and, to varying degrees,

were able to participate in the economy and civil governance.

        B.       ANCSA Formally Defined the Relationship Between Alaska Natives and the
                 Federal Government

        In 1884, section 8 of the Alaska Organic Act extended the Mining Law of 1872 to Alaska

with the proviso that Alaska Natives “shall not be disturbed in the possession of any lands actually

in their use or occupation . . . but the terms under which such persons may acquire title to such

lands is reserved for future legislation by Congress.” Alaska Organic Act, § 8, 23 Stat. 24, 26

(1884). Little clarity developed with respect to aboriginal rights over lands and resources for the

better part of a hundred years. Finally in 1971, Congress exercised the decision-making authority

that Congress reserved to itself by enacting the Alaska Native Claims Settlement Act (ANCSA),

43 U.S.C. §§ 1601 et seq., to settle, through grants of a combination of land and money, all “claims

by Natives of Alaska.”

        ANCSA is “Indian legislation enacted by Congress pursuant to its plenary authority under

the Constitution of the United States to regulate Indian affairs is Indian legislation.” Section 2(9)

of the 1987 Amendments to ANCSA, Pub. L. No. 100-241, 101 Stat. 1788. But ANCSA is unique.

Unlike other Indian legislation, sections 7(d) and 8(a) of ANCSA9 required Alaska Natives to

organize corporations “under the laws of the State [of Alaska]” in order to obtain settlement

benefits. And rather than conveying land in trust, section 14 of ANCSA10 required the Secretary

of the Interior to issue the corporations patents that conveyed title to land in fee simple.



influence. Thus, many Alaska Natives have enjoyed a long history of participation and influence in state and local
government.
9
        43 U.S.C. §§ 1606(d), 1607(a).
10
        Id. at § 1613.




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       ANCSA thus established a governance structure for Alaska Native land ownership in for-

profit corporations, in which each Alaska Native was entitled to shares of ANCSA stock as a

birthright. 43 U.S.C. §§ 1604, 1606(g), 1607(c). To this end, ANCSA created twelve Regional

and 220 Village Corporations to represent Natives in geographic areas and to manage the property

and funds received from the federal government. Id. at §§ 1604, 1606, 1607.

       In short, the contention that ANSCA corporations are simply for-profit corporations

established under state law is a gross mischaracterization. What is missed by Plaintiffs is that

Alaska Natives fought for the right to manage their land and resources, to build an economy, and

to preserve traditional and cultural practices. Alaska Natives faced the critical question of how to

resolve ownership issues relating to Native lands. The creation of ANCSA corporations was

Congress’ answer.

       C.      ANCSA Corporations Serve a Similar Role to their Native Communities as
               Other Tribal Governments

       Plaintiffs derisively refer to ANCSA corporations as “for profit corporations” “similar to

other multinational corporations” and allege that the corporate nature of ANCs should disqualify

the ANCs from receiving monies. Mtn. at 10, 26. But that characterization ignores the history

cited above and the role of ANCSA corporations in resolving land ownership issues unique to

Alaska Native communities. Because the rights of Alaska Natives were bifurcated by the federal

government such that tribes are sovereign, while ANCSA corporations actually own Native lands,

it is practically impossible to provide meaningful economic, cultural, and social assistance to

Native communities without involving ANCSA corporations.             For example, Alaskan tribes

receiving funding for critical resources such as health clinics do not control lands to build such a

clinic—the ANCSA corporations do. ANCSA corporations have a legal mandate to support their

Alaska Native shareholders and the resources and expertise to effectively utilize relief funds to




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support their Native communities. Congress understands this role, which is why they chose to

specifically include ANCs in the CARES Act by incorporating a definition that explicitly identified

them—and not a definition that excluded them or left the point ambiguous.

          The fact that ANCSA corporations utilize a corporate form, and control business

enterprises, does not fundamentally distinguish them from other Indian tribes. Many lower 48

tribes operate enterprises that net many times the annual revenue of ANCs, and Plaintiffs do not

dispute such tribes are eligible for relief funds under the CARES Act. In sum, there is no valid

reason to contravene Congress’ clear intent and bar ANCs while many other tribes with substantial

business operations remain eligible.

          In making this argument, Plaintiffs reside in “glass houses.” Indian gaming is a major

business for many lower-48 tribes. In 2018, Indian gaming generated over $33.7 billion in revenue

for the lower-48 tribes.11 Tribes in the Pacific Northwest generated over $3.6 billion in revenue in

2018,12 which may explain why Plaintiff Chehalis Tribe could spend approximately $40 million

expanding a casino13 or Plaintiff Tulalip Tribes could spend $100 million.14

          But, perhaps more importantly, Plaintiffs’ argument is a red herring because they have

overlooked key mandates that make ANCs like Ahtna far from typical for-profit corporations—

and very much like other Tribal governments. There are several important characteristics of

ANCSA corporations that have been presented to the Court and which buttress Congress’

determination to include them in Title V of the CARES Act.

          First, ANCSA corporations have a specific mandate to support their Alaska Native



11
     https://www.nigc.gov/news/detail/2018-indian-gaming-revenues-of-33.7-billion-show-a-4.1-increase
12
     https://www.nigc.gov/images/uploads/2018GGRGamingRevenuesbyRegionFINAL_Charts_3.pdf
13
          https://www.indianz.com/IndianGaming/2015/01/23/chehalis-tribe-to-start-work-o.asp
14
          https://www.bizjournals.com/seattle/news/2017/09/15/tulalip-tribes-plan-new-100-million-casino.html




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shareholders like any other Tribal government.                     Specifically, Congress created ANCSA

corporations not to simply enrich shareholders, but to addresses “the real economic and social

needs of Natives, without litigation, with maximum participation by Natives in decisions affecting

their rights and property…”. 43 U.S.C. § 1601(b) (emphasis added). To take one example of the

unique nature of ANCs, ANCSA requires an Alaska Native Regional Corporation like Ahtna to

share 70 percent of the net revenue from timber and mineral resources developed on their lands

with other Alaska Native Regional Corporations. 43 U.S.C. §1606(i).15 The amount of revenue

that has been shared between Alaska Native corporations since ANCSA was enacted is simply

staggering -- well over $2 billion since 1971. Aaron Schutt, ANCSA Section 7(I): $ 40 Million Per

Word and Counting, 33 Alaska L. Rev. 229, 230 (2016). Much of this section 7(i) revenue is

distributed directly to ANCSA shareholders.

         Second, ANCSA restricted original shareholders to Alaska Natives, which is defined to

mean: “a citizen of the United States who is a person of one-fourth degree or more Alaska Indian

(including Tsimshian Indians not enrolled in the Metlakatla Indian Community) Eskimo, or Aleut

blood, or combination thereof.” 43 U.S.C. § 1602(b). In this sense, this is very similar to

restrictions placed by other Tribal governments on their membership.

         Third, ANCSA also imposed restrictions on alienation of common shares that prevented

their transfer to non-Natives except in limited circumstances. See 43 U.S.C. § 1606(b)(1). But

ANCSA also mandates that only Alaska Natives shareholders have voting rights in the annual

election of directors. Section 1606 of ANCSA provides that “any stock transferred to a person not

a Native or a descendant of a Native shall not carry voting rights.” 43 U.S.C. § 1606(h). More



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         ANCSA also requires revenues from natural resource wealth to be shared with Alaska Native village
corporations. Section 7(j) directs Alaska Native regional corporations to disperse 50 percent of the Section 7(i)
revenues they receive to Alaska Native village corporations within the region.




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importantly, Alaska Natives are not authorized to simply transfer shares to non-Native third parties

outside of those limited circumstances prescribed in ANCSA. And as a practical matter, only a

very small portion of the outstanding shares of Ahtna—like others ANCS corporations—are held

by non-Native family members of original shareholders.

       Fourth, the federal government continues to have extensive oversight over ANCSA

corporations. In fact, ANCSA has been amended hundreds of times over the last 49 years.

Congress has also enacted new legislation affected ANCSA lands, in particular, Title VIII of the

Alaska National Interest Lands Conservation Act, 16 U.S.C. § 3111-3125, to remedy some of

ANCSA’s shortcomings. See Alaska v. Babbitt, 72 F.3d 698, 709 (9th Cir. 1995); Ninilchik

Traditional Council v. United States, 227 F.3d 1186, 1189 (9th Cir. 2000) (“Congress’ aim in

passing ANILCA was to ensure a way of life ‘essential to Native physical, economic, traditional,

and cultural existence….’) (quoting ANICLA Section 801(1)); see generally David S. Case &

David A.Voluck, Alaska Natives and American Laws 296-301 (University of Alaska Press, 3d ed.

2012) (providing a comprehensive overview of ANILCA and discussing how it “is intended to

carry out the subsistence-related policies and fulfill the purposes of ANCSA”).

       To effectuate these objectives set out in ANILCA and ANCSA, Ahtna has spent millions

protecting the cultural and traditional ways of the Ahtna people. See Declaration of Ken Johns at

¶ 1 (Exhibit 2). Ahtna is the steward of the its people’s traditional hunting and fishing lands. Id.

at ¶ 2. These activities provide food security for the Ahtna people. Though its Land and Resource

Department, the corporation is mandated to manage its lands in accordance with cultural and

traditional uses and values. Id. at ¶ 3. This includes providing trespass enforcement, wildlife

monitoring and enhancement programs, wildfire prevention, and access to hunting and fishing.

Ahtna also builds and maintains trails for access to traditional hunting and fishing grounds. Id. at




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¶¶ 3-4. For example, in 2019 Ahtna employed a work crew from the Native Village of Kluti-Kaah

to construct a trail to access a traditional hunting area near the village. Id. at ¶ 4. As another

example, the Ahtna Land and Resource Department coordinates with its each of the Ahtna tribes

to identify traditional fishwheel users by family and provides on-going assistance to develop and

maintain access to their traditional fishwheel sites. Id. at ¶ 5.

       In addition to the lands, Ahtna provides other crucial support for the economic and social

well-being of the Ahtna people. Id. Ahtna gives significant financial and organizational support

to many of its regional non-profits who are responsible for feeding elders, providing health and

dental care, preserving native language and dance, and providing housing and job-related services.

Ahtna also has its own programs for providing jobs and job readiness. Id.             In 2019 Ahtna

committed over $1,000,000 to pay wages for tribal members for shovel-ready projects within its

villages. Id. at ¶ 6. Ahtna has also spent significant resources helping the Ahtna people break

through the common barriers to get access to jobs in impoverished communities. Id. at ¶ 7.

Through its Employment and Enrichment Program, Ahtna pays for vocational education,

apprenticeships, union dues, childcare, transportation, work clothing, housing and food for its

shareholders seeking employment. Id.

       Further, Ahtna has a highly integrated relationship with its federally recognized tribes in a

common effort to protect its cultural and traditional wildlife management rights. Id. at ¶ 9. Ahtna

has expended significant resources furthering these efforts. Ahtna also sits in a quasi-government

role, consulting with the United States Department of the Interior and the State of Alaska on

hunting and fishing matters for the benefit of all Ahtna people, including the tribes. Id. at ¶ 10.

       Finally, many Alaska Native goals are captured in the congressional findings in ANCSA

and its amendments. They have a direct bearing on the question of Congress’ recognition of




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ANCSA corporations as ‘Indian tribes’ in the Coronavirus Relief Act. The explicit statement of

self-determination was stated in Section 1601(b) of the findings that:

          “[T]he settlement should be accomplished rapidly, with certainty, in conformity with the
          real economic and social needs of Natives, without litigation, with maximum participation
          by Natives in decisions affecting their rights and property . . . .”

43 U.S.C. § 1601(b)(emphasis added).

          ANCSA was not meant to diminish the obligations of the United States toward Indian

people.     ANCSA was explicitly not a termination of federal trust responsibilities, but a

reaffirmation of federal responsibilities. Section 1601(c) provides that:

          “[N]o provision of this chapter shall replace or diminish any right, privilege, or obligation
          of Natives as citizens of the United States or of Alaska, or relieve, replace, or diminish any
          obligation of the United States or of the State of Alaska to protect and promote the rights
          or welfare of Natives as citizens of the United States or of Alaska . . . .”

43 U.S.C. § 1601(c)(emphasis added). ANCSA ensures that Alaska Natives would still be qualified

to participate in federal programs meant for Indians and Alaska Natives. This was necessary

because in the 1960s, some parties wanted to terminate Alaska Native rights to such participation

as part of a land claims settlement.

          ANCSA also provides that ANCSA lands will be treated as ‘Indian reservations’ for the

purposes of qualifying for these programs:

          “no provision of this chapter shall be construed to terminate or otherwise curtail the
          activities of the Economic Development Administration or other Federal agencies
          conducting loan or loan and grant programs in Alaska . . . . and the terms ‘Indian
          reservation” and “trust or restricted Indian-owned land areas” . . . shall be interpreted to
          include lands granted to Natives under this chapter as long as such lands remain in the
          ownership of the Native villages or the Regional Corporations.”

43 U.S.C. § 1601(c)(emphasis added)

          This original ANCSA congressional finding is the template to define ANCSA corporations

and ANCSA lands as an ‘Indian tribe’ and as an ‘Indian reservation’ in the Indian Self-




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Determination and Educational Assistance Act of 1975 and the Indian Financing Act of 1974.

These two major federal Indian laws of general applicability codified the congressional findings

of ANCSA. Congress has plenary authority to recognize an entity as an Indian tribe for a specific

purpose or in a specific statute. And Congress has chosen to recognize ANCSA corporations as

“Indian tribes” in the context of the ISDEAA and now in the context of Title V of the CARES Act.

       There is no question that the ISDEAA definition that includes ANCSA corporations as an

‘Indian tribe’ is neither an accident nor an aberration. It fulfills congressional intent to assure the

participation of ANCSA corporations in federal Indian legislation.           And there is structural

continuity of congressional policy in the inclusion of ANCSA corporations in Title V of the

CARES Act. In short, ANCSA corporations are not simply standard for-profit corporations.

Federal laws impose a legal mandate on ANCSA corporations to support Alaska Native

shareholders economically, culturally, and socially which has been repeatedly recognized by the

United States government. These laws not only explain how and why Congress created ANCSA

corporations, but they also provide essential context to understand why Congress wanted ANCSA

corporations to play a central role in using their resources, often in partnership with Alaska Native

tribes, to protect and advance Alaska Natives rights, health, security, and interests in this pandemic.

II.    Plaintiffs’ Statutory Argument is Flawed and Seeks to Contravene Congress’ Intent
       in Enacting the CARES Act

       As outlined above, Plaintiffs seek to exclude the ANCSA corporations from the CARES

Relief fund by using a convoluted statutory interpretation that relies on a variety of separate

statutes, regulations, and an agency list—none of which are referenced in or incorporated into the

CARES ACT. Plaintiffs’ argument is not, however, supported by the text of the statute and should

be rejected for all of the following reasons.

       First, Congress chose to define “Indian tribes” as that term is defined in the ISDEAA and




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that definition specifically includes “any Alaska Native village or regional or village corporation

as defined in or established pursuant to the Alaska Native Claims Settlement Act (85 Stat. 688)

[43 U.S.C. 1601 et seq.].” 25 U.S.C. § 5304(e). There are other definitions of “Indian tribe”

throughout the U.S. Code that do not specifically enumerate ANCSA corporations. See, e.g., 25

U.S.C. § 5130(2) (“The term ‘Indian tribe’ means any Indian or Alaska Native tribe, band, nation,

pueblo, village or community that the Secretary of the Interior acknowledges to exist as an Indian

tribe.”). Thus, by choosing the definition in the ISDEAA (and not some other definition like the

one appearing in 25 U.S.C. § 5130(2) for instance) there is a strong argument that Congress

intended to include ANCSA corporations.

       Plaintiffs, nonetheless, argue that the Federal Tribal List published by the Secretary of the

Interior in the Federal Register is dispositive of which entities meet the definition of Indian Tribe

in the ISDEAA. But they similarly highlight that the list of federally recognized tribes “does not

include any Alaska Native regional or village corporations (“ANCs”).” Compl. at ¶ 47 (emphasis

in original). In other words, they argue that all ANCSA corporations are constructively stricken

from the definition that Congress specifically selected in the CARES Act. That argument does not

make sense and effectively nullifies specifically enumerated terms in a definition drafted by

Congress. Thus, in the context of Title V of the CARES Act, Congress has exercised its plenary

power and chosen to recognize ANCSA corporations as Indian tribes for the limited purpose of

receiving funding to address a pandemic.

       Plaintiffs’ argument, frankly, defies common sense.         Why Congress would use the

ISDEAA definition, which specifically lists ANCSA corporations, if it did not intend to include

them as eligible recipients? Congress could have readily selected a “cleaner” definition that simply

did not reference ANCs at all. Or it could have simply made reference to the Federal Tribal list




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itself. Put simply, if Congress wanted to exclude ANCSA corporations it could have done so and

in a much less convoluted way.

       Second, the U.S. District Court for Alaska and the Ninth Circuit expressly endorsed the

proposition that ANCSA corporations were included in the ISDEAA’s definition of Indian

tribe. See Cook Inlet Native Ass’n v. Bowen, 810 F.2d 1471, 1474 (9th Cir. 1987) (“CINA”). In

CINA, the plaintiff, like the Plaintiff Tribes here, argued that Alaska Native Regional Corporations

are excluded from the definition of Indian Tribe because, to be a tribe under the ISDEAA’s

definition, ANCSA corporations must “be recognized as eligible for the special programs and

services provided by the United States to Indians because of their status as Indians.” Id. The Ninth

Circuit, in affirming the District Court, held that such a construction of the statute would (i) render

the provision including ANCs in the definition of tribes as inoperative and (ii) defy common sense

to construe a statute to render a provision meaningless. Id.

       In reaching this conclusion, the Ninth Circuit expressly rejected CINA’s argument, which

is virtually identical to the argument that the Plaintiffs are raising here “that recognition of CIRI

as a tribe subverts the policies and purposes underlying the Self-Determination Act.” Id. at 1476.

The court explained that “classifying a business corporation as an Indian tribe does not clearly

contravene the policies and purposes of the [ISDEAA]. The [ISDEAA] was promulgated to insure

maximum Indian participation in and control over the programs and services for Indians.” Id. Even

more helpful for our purposes, the Court observed that

       the record does not indicate whether non-profit or profit corporations are more
       suited to achieve this goal. It is instructive, however, that the corporations formed
       pursuant to the Settlement Act also were established to provide maximum
       participation by Natives in decisions affecting their rights and property. See
       Congressional Findings and Declaration of Policy, 43 U.S.C. § 1601. To achieve
       this goal, the Act required many specific features to be included in the corporations.
       See 43 U.S.C. § 1606.”




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Id. (emphasis added). In short, two federal courts have expressly rejected the argument

raised by the Plaintiffs in their complaint and TRO Motion.

        In their TRO Motion, Plaintiffs attempt to distinguish the CINA decision holding that

ANCSA corporations are Indian Tribes under the ISDEAA by suggesting that the Ninth Circuit

simply deferred to the agency’s interpretation. TRO Motion at 20. Plaintiffs contend that while

ANCs were “eligible” to be considered as Indian Tribes under ISDEAA when the case was decided

in 1987, the Federal Tribal List Act of 1994 fundamentally changes that analysis. Id. at 20-21.

According to Plaintiffs, because Congress has now mandated the creation of a list defining those

entities “recognized as eligible for the special programs and services provided by the United States

to Indians because of their status as Indians,” only entities on the tribal list still qualify.

        But this analysis is flawed. The CINA decision was not premised solely on deference to

the then-existing agency interpretation by the Bureau of Indian Affairs. The Court also analyzed

the legislative history and conducted a careful statutory analysis, noting that the “administrative

interpretation is supported by the legislative history” because the “proposed [ISDEAA] definition

of Indian tribe and the definition in the original bill included the eligibility clause but did not

mention the Alaska regional corporations.” CINA, 810 F.2d at 1474-75. Because “[s]pecific

reference to Alaska village and regional corporations was added by amendment” the Court held it

was reasonable to conclude that the “eligibility clause” modified only the terms “any Indian tribe,

band, nation, or other organized group or community,” and not the specifically enumerated ANCs

which were added later. Id. (citing 120 Cong. Rec. 40242). That reasoning remains sound in this

context. The Ninth Circuit has also continued to recognize that ANCSA corporations are tribes

under ISDEAA, even after the Federal Tribe List Act became law. See Cook Inlet Treaty Tribes v.

Shalala, 166 F.3d 986, 988-90 (9th Cir. 1999) (observing that ANCSA corporations qualify as




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tribes under the ISDEAA).

       Once again, the question before the Court will likely be whether Treasury’s decision to

include ANCSA corporations is reasonable. And the inclusion of ANCSA corporations in Title V

of the CARES would be more than reasonable—it is dictated by the plain language of the statute.

       Third, the CINA decision buttresses the argument that Congress intentionally used the

ISDEAA definition including ANCSA corporations. Congress is presumed to know the status of

federal decisions when it enacts legislation. Moreover, if Congress had intended to exclude the

ANCSA corporations, they would have specifically done so instead of relying on a statutory

provision that has been interpreted by federal courts to include ANCSA Corporations.

       Fourth, to the extent the eligibility clause in ISDEAA does restrict the class of ANSCA

corporations that qualify under the definition, the ISDEAA does not tie that qualifier to the

publication of the list by the Secretary of the Interior mandated under 25 U.S.C. § 5131 as noted

above. If Plaintiffs’ interpretation were correct, then a portion of the ISDEAA definition enacted

by Congress was effectively nullified by a separate statute passed almost 20 years later. That is

not a reasonable proposition. And to the extent there is any factual support for the proposition,

ANCSA corporations should have an opportunity to demonstrate to Treasury that ANCs—despite

not being on the Federal Tribal List—do satisfy the definition in ISDEAA because they enjoy

some special benefits from the federal government based on their identity as Native Corporations.

       Finally, the Plaintiff Tribes’ claim that ANCSA corporations do not meet the definition of

“Tribal governments” under the CARES Act because they are not “recognized” governing bodies.

This argument is also unavailing. In support, Plaintiffs once again rely on other statutes, 638

contracting rules and regulations, and irrelevant case law concluding ANCSA corporations are not

separate sovereigns with a “government-to-government” relationship with the United States. But




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there is absolutely nothing in the CARES Act to suggest that Congress intended to limit the

definition of Tribal government based on any of those statutes, rules, regulations, or legal decisions

or require entities to receiving relief funds to have a sovereign government. Once again, Congress

chose not to cross-reference or incorporate any of those provisions in the Act. Instead, they simply

chose a specific statutory provision to define entities that qualified as “Indian tribes,” (which

included ANCs) and defined Tribal governments as the governing body of those entities. More

importantly, Plaintiff ignore that with respect to the ISDEAA definition (which is the only

definition used in the CARES Act), Congress has exercised its plenary authority to recognize

ANCSA corporations as Indian tribes.

                                          CONCLUSION

       For all the foregoing reasons, ANCSA corporations are “Tribal governments” within the

meaning of Title V of the CARES Act and eligible for relief payments.


Dated: April 22, 2020                                 Respectfully submitted,



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